  Case 4:17-cv-00792-A Document 11 Filed 11/30/17                 Page 1 of 26 PageID 46
                                                                   r   -·-·~,.-, ;;cu/~, "" ::··---·-1
                                                                              ......
                                                                                 .•. th,)/i\iC> ..._UL,.,.•



                     IN THE UNITED STATES DISTRICT cou T FOR
                             NORTHERN DISTRICT OF TEX S
                                                                              rE
                                                                       I<ORTLiERN :UISTRICT or~ '1', Xi\S

                                                                                         FIL~ED
                                                                                                    0          '
                                                                                                                   '

                                                                                                                   \~
                                    FORT WORTH DIVISION                        L..~~~~-201_:_..J (}' i
 ELSTON NATIONWIDE,                                     §          !         '·'z,(,   U.S.DJSDUCTCOl~<·~
            Plaintiff,                                  ~
                                                        §
                                                                   L_                  --D. Pll!_ ____        =JJ
 vs.                                                    § CIVIL ACTION NO. 4:17-cv-792-A
                                                        §
 CALL US LOGISTICS, INC.,                               §
      Defendant.                                        §


                                  MOTION FOR ENTRY OF
                         DEFAULT JUDGMENT AND BRIEF IN SUPPORT

TO THE HONRABLE JOHN MCBRYDE, UNITED STATES DISTRICT JUDGE:

           COMES NOW, Plaintiff ELSTON NATIONWIDE, ("Plaintiff') and files this Motion for

Entry of Default Judgment, and would respectfully show the Court as follows:

                            FACTS AND PROCEDURAL HISTORY

           I.     This Motion is supported by the Affidavit of Colleen McCoy ("Plaintiffs

Affidavit"), which is attached and fully incorporated herein as Exhibit A.

           2.     On October 2, 2017, Plaintiff initiated Civil Action No. 4: 17-cv-00792, styled

Elston Nationwide v. Call US Logistics, Inc. Plaintiffs Affidavit, Exhibit A at para 2. See also

Exhibit A-1, attached hereto.

           3.     Defendant Call US Logistics, Inc., (hereinafter 'Defendant"), was served with

process by delivering a copy of the Summons and Complaint at the Defendant's principle place

of business, 905 1st Street, Newport, MN 55055. A true and correct copy of the Declaration of

Service is attached to the Plaintiffs Affidavit as Exhibit A-2 and is fully incorporated herein

('Declaration of Service").




MOTION FOR ENTRY OF FINAL DEFAULT JUDGMENT AND BRIEF IN SUPPORT                                 Pagelof4
#1990839
  Case 4:17-cv-00792-A Document 11 Filed 11/30/17                    Page 2 of 26 PageID 47



        4.      The Defendant is a private entity and not an incompetent, infant, person currently

in military service, or any officer or agency of the United States. Id at para 4.

        5.     Service of process was executed on October 10, 2017, so Defendant had until

October 30, 2017 to file its Answer. Declaration of Service, Exhibit A-2, to Plaintiff's Affidavit.

As of this date, Defendant still has not filed an Answer, a motion under Fed. R. Civ. P. 12(b) or

56, or otherwise defended this lawsuit. Plaintiff's Affidavit, Exhibit A at para 5.

       6.      The Clerk of this Court entered Defendant's default into the record on November

27,2017 in accordance with Rule 55(b)(l) of the Federal Rules of Civil Procedure. Id at para 6.

A true and conect copy of the Clerk's Entry of Default is attached to Plaintiff's Affidavit as

Exhibit A-3, to Plaintiff's Affidavit, and is fully incorporated herein.

                              II. ARGUMENT AND AUTHORITIES

       7.      A District Court may enter a final judgment by default. Fed. R. Civ. P. 55(b)(2).

A trial court has discretion in determining the most appropriate method of determining the

amount of damages for a default judgment. Id It is not necessary to hold an evidentiary hearing

to determine damages in a default situation. See, e.g., Leedo Cabinetry v. James Sales & Distrib.,

Inc., 157 F.3d 410, 414 (5 1h Cir. 1998). The use of affidavits to prove damages is widely

accepted method for awarding damages in a default judgment. Chemtall, Inc. v. Citi-Chem, Inc.,

992 F. supp. 1390, 1412 (S.D. Ga. 1998). The District Court's ruling on damages in a default

situation without an evidentiary hearing is reviewed only for abuse of discretion.          Leedo

Cabinetry, !57 F.3d at 414.

        8.     In the case at bar, the amount of damages is measured by the dollar value of the

cargo that was compromised in transit by Defendant and rejected by the purchaser because the

temperature of the product on delivery (perishable food product for human consumption) was



MOTION FOR ENTRY OF FINAL DEFAULT JUDGMENT AND BRIEF IN SUPPORT                           Page2of4
#I990839
  Case 4:17-cv-00792-A Document 11 Filed 11/30/17                    Page 3 of 26 PageID 48



outside the acceptable range. Plaintiff is entitled to relief under the Carmack Admendment, 49

U.S.C. sec. 14706, et seq. by establishing that the cargo, tendered to the Defendant in good order

and condition, was compromised in transit while in the control of Defendant when the

Defendant's refrigerated unit malfunctioned and the cargo on delivery by the Defendant to the

purchaser was rejected by the purchaser because the temperature of the product on delivery was

outside the acceptable range. The Defendant driver sent an electronic communication to the

dispatcher informing that the refrigerated unit on his trailer had malfunctioned and the cargo

(perishable food for human consumption), had been rejected at time of delivery because the

temperature of the cargo was outside the acceptable range. Plaintiff's Affidavit, Exhibit A at para

7. The damages suffered by Plaintiff are easily ascertainable and totals $16,653.48. Plaintiff's

Affidavit, Exhibit A at para 8; see also Exhibit A-4 to Plaintiff's Affidavit.

        9.      Upon final judgment of this matter, the Plaintiff is entitled to recover its'

damages. The legal and factual bases for liability are set forth above and fully supported by the

Plaintiffs Affidavit and accompanying exhibits. Therefore, no evidentiary hearing is necessary

to determine damages to be awarded against the Defendant in this case. Leedo Cabinetry, 157

F.3d at 414.

                                        III. CONCLUSION

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that the

Court enter a final default judgment against Defendant for $16,653.48, plus pre- and post-

judgment interest at the rate provided by law, as well as applicable costs.




MOTION FOR ENTRY OF FINAL DEFAULT JUDGMENT AND BRIEF IN SUPPORT                           Page3of4
#1990839
   Case 4:17-cv-00792-A Document 11 Filed 11/30/17          Page 4 of 26 PageID 49



                                         Respectfully submitted,


                                         By~~   COLLEEN McCOY
                                                State Bar No. 24027492
                                                colleen.mccoy@sargent1awtx.com

                                         SARGENT LAW, P.C.
                                         1717 Main Street, Suite 4750
                                         Dallas, Texas 75202
                                         (214) 749-6000
                                         (214) 749-6100 (fax)

                                         ATTORNEY FOR PLAINTIFF




MOTION FOR ENTRY OF FINAL DEFAULT JUDGMENT AND BRIEF IN SUPPORT                  Page 4 of 4
#1990839
Case 4:17-cv-00792-A Document 11 Filed 11/30/17   Page 5 of 26 PageID 50




                         EXHIBIT A
  Case 4:17-cv-00792-A Document 11 Filed 11/30/17                   Page 6 of 26 PageID 51



                            IN THE UNITED STATES DISTRICT COURT FOR THE
                                    NORTHERN DISTRICT OF TEXAS
                                        FORT WORTH DIVISION

 ELSTON NATIONWIDE,                                       §
                                                          §
            Plaintiff,                                    §
                                                          §
 vs.                                                      § CIVIL ACTION NO. 4:17-CV-00792
                                                          §
 CALL US LOGISTICS, INC.,                                 §
      Defendant.                                          §


                                AFFIDAVIT OF COLLEEN MCCOY

TO THE HONRABLE JOHN MCBRYDE, UNITED STATES DISTRICT JUDGE:

           COMES         NOW,   Colleen   McCoy,   counsel   of record for     Plaintiff ELSTON

NATIONWIDE, ("Plaintiff') and files this Motion for Entry of Default Judgment, Combined

with Brief in Support, and would respectfully show the Court as follows:

                                                   I.
                                   FACTS AND PROCEDURAL HISTORY

         Before me, the undersigned authority, on this date personally appeared Colleen McCoy
who is personally known to me to be the person whose name is subscribed hereto, after being
first duly sworn by me, upon her oath stated as follows:

           1.     My name is Colleen McCoy. I am over the age of twenty-one years, have never

           been convicted of a felony or crime involving moral turpitude, and am otherwise fully

           competent to make this Affidavit. I have personal knowledge of all the facts stated

           herein, and they are true and correct. Those records were made at or near the time by, or

           from information transmitted by, a person with knowledge; were kept in the course of

           Elston Nationwide's ("Elston"), records concerning the matters addressed in this

           Affidavit.




AFFIDAVIT OF COLLEEN MCCOY                                                                 Page I of3
#1992168
   Case 4:17-cv-00792-A Document 11 Filed 11/30/17                   Page 7 of 26 PageID 52



           2.     On October 2, 2017, Elston initiated Civil Action No. 4:17-CV-00792, styled
           Elston Nationwide v. Call US Logistics, Inc .. A true and correct copy of the Complaint is
           attached as Exhibit "A-1" and is fully incorporated herein.

           3.      Call US Logistics, Inc. ("Defendant") was served with process by delivering a
           copy of the Summons and Complaint. A true and correct copy of the Declaration of
           Service is attached to McCoy's Affidavit as Exhibit "A-2" and is fully incorporated
           herein.

           4.      The Defendant is a private entity and not an incompetent, infant, person currently
           in military service, or any officer or agency of the United States.

           5.     Service of Process was executed on October 10, 2017, so Defendant had until
           October 30, 2017, to file its Answer. As of this date, Defendant still has not filed and
           Answer, a motion under Fed. R. Civ. P. 12(b) or 56, or other document intended to
           defend this lawsuit.

           6.      The Clerk of this Court entered Defendant's default into the record on November
           27, 2017 in accordance with Rule 55(b)(1) of the Federal Rules of Civil Procedure. A
           true and correct copy of the Clerk's Entry of Default is attached to this Affidavit as A-3
           and fully incorporated herein.

           7.       The Plaintiff seeks relief and is entitled to relief requested under Carmack
           Amendment, 49 U.S. C. sec. 14706, et seq. The Plaintiff tendered cargo, perishable food
           product for human consumption, that was compromised in transit while in the control of
           Defendant when the Defendant's refrigerated unit malfunctioned causing the temperature
           to fall outside acceptable range and the cargo was rejected at time of the delivery because
           the temperature of the product on delivery was outside the acceptable temperature range.
           The product when picked-up by the Defendant was tendered in good order and condition.
           Attached hereto in support of said facts, are true and correct documents that were
           maintained in the course of Plaintiffs business: Exhibit A-4 Loss & Damage Claim;
           Exhibit A-5 Bill of Lading with rejection of cargo because the cargo temperature was
           outside acceptable range; Exhibit A-6 electronic communication from Defendant's driver
           to dispatcher informing that the refrigerated unit on his trailer malfunctioned and that the
           cargo was being rejected because it was outside the acceptable temperature range.

           8.     The damages suffered by Elston are easily ascertainable and total $16,653.48.
           See Exhibit A-4.




AFFIDAVIT OF COLLEEN MCCOY                                                                    Page2of3
#1992168
  Case 4:17-cv-00792-A Document 11 Filed 11/30/17      Page 8 of 26 PageID 53



           Further Affiant Saith Not.




        SWORN TO AND SUBSCRIBED before me on this 28'h day of November, 2017, to
certify which witness my hand and official seal.

                                             I   "'    .
                                           Notary Public, State of Texas
      ,~~'           SUSAN GOODMAN
      1*~:l*l MY COMMISSION EXPIRES
      '~     ,.4l
           ''111""
                     February 26, 2018
                                           My Commission Expires:




AFFIDAVIT OF COLLEEN MCCOY                                                 Page 3 of3
#1992168
Case 4:17-cv-00792-A Document 11 Filed 11/30/17   Page 9 of 26 PageID 54




                       EXHIBIT A-1
Case 4:17-cv-00792-A Document 11 Filed 11/30/17                     Page 10 of 26 PageID 55

       Case 4:17-cv-00792-A Document 1 Filed 10/02/17                 Page 1 of 6 PageiD 1


                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                 NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

 ELSTON NATIONWIDE,                                      §
                                                         §
         Plaintiff,                                      §
                                                         §
 VS.                                                     § CIVIL ACTION NO.
                                                         §
 CALL US LOGISTICS, INC.,                                §
      Defendant.                                         §


                                   ORIGINAL COMPLAINT

COMES NOW, Plaintiff ELSTON NATIONWIDE, (hereinafter "Plaintiff"), on its own behalf

and on behalf of all others having any interest in the cargo referred to herein, and alleges:

                                  GENERAL ALLEGATIONS

        I.     This Court has jurisdiction, pursuant to 28 U.S.C. §§ 1331 and 1337, with respect

to the first cause of action in that it arises out of issues of interstate commerce under the laws or

treatises of the United States with an amount in dispute exceeding $10,000, exclusive of interest

and costs.    Plaintiff respectfully requests this Court to exercise supplemental jurisdiction,

pursuant to 28 U.S.C. § 1367, over the second and third causes of action.

        2.     Plaintiff is, and at and all material times herein was and is a duly organized Texas

corporation with its principle place of business in Bedford, Tarrant County, Texas.

        3.     Plaintiff is informed and believes, and thereon alleges, that Defendant Call US

Logistics, Inc., (hereinafter 'Defendant") is, and at all material times herein, was a Minnesota

corporation with its principle place of business located at 905 I" Street, Newport, MN 55055.

Defendant does not have a registered agent in Texas for service of process. The Defendant can

be served with process by serving its Chief Executive Officer, David L. Quade at the



PLAINTIFF'S ORJGINAL PETITION                                                               Page I of6
#1984663
Case 4:17-cv-00792-A Document 11 Filed 11/30/17                    Page 11 of 26 PageID 56

      Case 4:17 -cv-00792-A Document 1 Filed 10/02/17                Page 2 of 6 Pagel D 2


Defendant's principle place of business, 905 I" Street, Newport, MN 55055 or anywhere he may

be found.

        4.      At all times material herein, Defendant was providing transportation services to

their customers, inter alios, Plaintiff.

        5.      Defendant is subject to the jurisdiction of the Court, pursuant to the written

agreement (hereinafter "Transportation Services Agreement") between Plaintiff and Defendant,

with an effective date of August 2, 2016.


                                           FIRST CAUSE OFACTION

        6.      Plaintiff incorporates herein by reference, as though fully set forth at length, each

and every allegation contained in paragraphs 1-5, inclusive.

        7.      On or about August 9, 2017, Plaintiff nominated the Defendant to transport cargo

consisting of 180 cases of Perderson's Natural Farm bacon (hereinafter the "Cargo"). The

Defendant picked up the cargo in Hamilton, Texas and delivered to Whole Foods Market -

Pacific Northwest Region in Seattle, Washington. Defendant agreed or otherwise as a matter of

law was charged, for good and valuable consideration, to undertake physical transportation of the

Cargo from Hamilton, Texas and deliver the Cargo in the same good order and condition in

which the Defendant received the Cargo.

        8.      The Cargo was duly tendered in its entirety to the Defendant in good order and

condition. However, the Defendant failed to deliver the Cargo to its destination in the same good

order and condition in which it was received. The refrigeration unit on the Defendant's tractor

malfunctioned in transit causing the Cargo to be compromised. The Cargo was rejected by the

purchaser, Whole Foods Market because the temperature of the product on delivery was outside

the acceptable range.


PLAINTIFF'S ORIGINAL PETITION                                                               Page 2 of6
#1984663
Case 4:17-cv-00792-A Document 11 Filed 11/30/17                     Page 12 of 26 PageID 57

      Case 4:17-cv-00792-A Document 1 Filed 10/02/17                  Page 3 of 6 PageiD 3


           9.     The Defendant's obligation of interstate transportation of the Cargo is, and at all

material times herein was, governed by the Carmack Amendment, 49 U.S.C. § 14706, et seq.

("Carmack"), under which the Defendant owed the highest degree of care in relation to the

Cargo. In failing to deliver the Cargo in the same order and condition received, the Defendant

breached its statutory obligation under the Carmack Amendment.

           I 0.   All rights to recover under the Carmack Amendment or otherwise by the

shipper/owner of the Cargo have been assigned to Plaintiff.

           II.    As a direct and proximate result of the Defendant's acts and omissions, damages

were incurred by Plaintiff, or by others upon whose behalf Plaintiff acts, in the sum not less than

$16,653.48.

                                  SECOND CAUSE OF ACTION
                       LIABILITY OF DEFENDANT FOR BREACH OF CONTRACT

           12.    Plaintiff hereby incorporates paragraphs I through II, inclusive, of its complaint,

as though fully set forth.

           13.    On August 3, 2016, Alen Santoli, as an authorized representative of Defendant,

executed the Transportation Services Agreement between Plaintiff and Defendant, with an

effective date of August 3, 2016.

           14.    On or about August 9, 2017, Defendant, by and through Alen Santoli or some

other agent, employee, or representative for Call US, agreed to transport the Cargo from

Hamilton, Texas to Seattle, Washington, and to care for, protect, handle, transport, discharge and

deliver the Cargo under specified terms and conditions, more specifically set forth in the

Transportation Services Agreement.

           15.    However, in violation of the Transportation Services Agreement, Defendant

breached express representation and warranty that ... "(iii) [a]ll motor vehicle equipment


PLAINTIFF'S ORIGINAL PETITION                                                               Page 3 of6
#1984663
Case 4:17-cv-00792-A Document 11 Filed 11/30/17                    Page 13 of 26 PageID 58

      Case 4:17 -cv-00792-A Document 1 Filed 10/02/17                Page 4 of 6 Pagel D 4


provided by the Carrier for the transportation of food grade product will comply with the

requirements for the Sanitary Transportation of Human and Animal Food under the FSMA," and

in violation covenant to comply with law; Food Safety Modernization Act of 20 II, wherein

Defendant shall ensure that the vehicles and equipment used for transport prevent the food

contained in the shipment from becoming unsafe during the transportation operation, as the

refrigeration unit on the trailer malfunctioned during transit causing spoliation of the Cargo.

        16.    The Cargo was compromised/spoiled while it was under the care, custody and

control of the Defendant, which loss was itself a breach of the Transportation Services

Agreement.

        17.    Pursuant to the Transportation Services Agreement, Defendant agreed to

indemnify and hold harmless Plaintiff from all loss (including attorney's fees) resulting from or

occurring in connection with: (a) "From any and all claims, losses, asserted liabilities, damages,

exemplary damages, causes of action whether arising out of tort or contract, including, but not

limited to, any claims allegedly arising out of the negligence of any one of the indemnities; and

(b) any breach of this Agreement."

        18.     Defendant further breached the Transportation Service Agreement by failing to

pay the value of the Cargo despite the Plaintiffs demand for same.

        19.     As a direct and proximate result of the Defendant's breaches of the Transportation

Services Agreement, damages were incurred by Plaintiff, or by others upon whose behalf

Plaintiff acts, in the sum of not less than $16,653.48.

                                  THIRD CAUSE OF ACTION
                          LIABILITY OF DEFENDANT FOR NEGLIGENCE

       20.     Plaintiff hereby incorporates paragraphs 1-19, inclusive, of its complaint, as

though fully set forth.


PLAINTIFF'S ORIGINAL PETITION                                                               Page 4 of6
#1984663
Case 4:17-cv-00792-A Document 11 Filed 11/30/17                   Page 14 of 26 PageID 59

      Case 4:17-cv-00792-A Document 1 Filed 10/02/17                Page 5 of 6 PageiD 5


        21.     The Defendant agreed to transport the Cargo from Hamilton, Texas to Seattle,

Washington. In agreeing to perform the transportation, the Defendant undertook the duty and to

care for, protect, handle, transport, discharge and deliver the Cargo in the same good order and

condition as when the Defendant received the same.

        22.     The Defendant received the Cargo in good order and condition.          But, the

Defendant breached the aforementioned duty of care by failing and neglecting to deliver the

Cargo in the same good order and condition as when the Defendant received the same. To the

contrary, the Cargo was compromised/spoiled while it was in the care, custody, and control of

the Defendant prior to delivery.

        23.     By reason of the foregoing breach, damages were incurred by Plaintiff, or by

others upon whose behalf Plaintiff acts, in the sum of not less than $16,653.48.

                                   FOURTH CAUSE OF ACTION
                                             FRAUD

       24.      Plaintiff hereby incorporates paragraphs 1- 23, inclusive, of its complaint, as

though fully set forth.

       25.     The Defendant produced and/or caused to be produced to Plaintiff reefer

download for unit# 4267, Model# NDL93SNOAB, Serial# KAW90916121, for the period in

question that were manipulated to show that the refrigerated temperatures were in compliance.

Defendant's driver had informed Defendant that the reefer unit had malfunctioned during transit

compromising the Cargo. The reefer downloads provided by Defendant are not in conformity

with the reefer download provided by Carrier Transicold dealership ("Transicold"), for the

subject load. The Transicold reefer download for the subject load shows that the reefer unit

malfunctioned for approximately II hours with recorded temperatures far outside the safe and

acceptable range.

PLAINTIFF'S ORIGINAL PETITION                                                          Page 5 of6
#1984663
Case 4:17-cv-00792-A Document 11 Filed 11/30/17                   Page 15 of 26 PageID 60

      Case 4:17-cv-00792-A Document 1 Filed 10/02/17                Page 6 of 6 PageiD 6


           26.   The Defendant made false representation to Plaintiff when it produced reefer

download reports that had been manipulated to show that refrigerated temperatures were in

compliance during transport, when in fact the refrigerated temperatures were outside the safe and

acceptable range for a period of approximately 11 hours when the reefer unit malfunctioned.

This representation was material and was false. The Defendant knew this representation was

false when made. The Defendant made the false representation with the intent that Plaintiff act

on it. The false representation caused the Plaintiff injury, for which it sues herein for direct,

consequential and exemplary damages.

           WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that

Defendant be cited to answer and appear and that after consideration of these claims, the Court

award a judgment to Plaintiff against Defendant for all amounts due and owing it from

Defendant, statutory or punitive damages as allowed by law, reasonable and necessary attorneys'

fees, pre-judgment and post-judgment interest to the maximum extent allowed by law, costs and

all such other and further relief, both general and special, at law and in equity to which Plaintiff

may show itself justly entitled.

                                              Respectfully submitted,

                                              SARGENT LAW, P.C.


                                              By:    Is/ Colleen McCoy
                                                     COLLEEN McCOY
                                                     State Bar No. 24027492
                                                     colleen.mccoy@sargentlawtx.com

                                             1717 Main Street, Suite 4750
                                             Dallas, Texas 75202
                                             (214) 749-6000
                                             (214) 749-6100 (fax)

                                              ATTORNEYS FOR PLAINTIFF


PLAINTIFF'S ORIGINAL PETITION                                                              Page 6 of6
#1984663
Case 4:17-cv-00792-A Document 11 Filed 11/30/17   Page 16 of 26 PageID 61




                       EXHIBIT A-2
Case 4:17-cv-00792-A Document 11 Filed 11/30/17                                              Page 17 of 26 PageID 62

    case 4:17-cv-00792-A Document 7 Filed 10/13/17                                          Page 1 of 1 PageiD 26
           Case 4:17-cv-00792-A Document 6 Filed 10/06/17 ·Page 2 of 2 PageiD 25



Civil Acllon No.

                                                      PROOF OF SERVICE
                     (Tltls section should not bejllod with the court unless requ/f'ell by Fed.          R. Clv. P. 4 (I))

        This summons fbr (MIMofilrdlvld,.,amftitie,lf"'9'J       Ce, 1 1         (.I:;.   f..t)§..l<;dt    c....S      1
                                                                                                                           I~ C.    .
was received by me on (time}        1d   /9 / 1 7                    ·
                                         •   i

        Q{l personally served the summons on the lndlvldualatlj;lnc<rJ              q0 2          Fll't.Sj                 SlltSE:T
         nJ 6w PIJ/t..T I          MrJ       :1''50 5'5                          on (datsJ 111   £,; /'7
                                                                                            3s:' .P, Jilt ,
                                                                                                     r          ;) !
                                                                                                                             ;or
        0 II~ the summons at the individual's residence or usual place ofabode with tham•J - - - - - - -
                              • a petSOn ofsuitable age and dlscredon who resides there,
        ---------------------
             ------,and mailed a copy the Individual's last known
        00 (dtztsJ                                                   10     or                            address;

        JIQ I served the summons on (-• •find/vi...,)            4       6tftt! (1 ot.W5Q/\.)                                             . who Is
         designated b)" law ro accept service of process on behalf of f,.,..IU"D1711•-J Ct &.<.. /)$ \.D 6-f S 71 c S
         .rJ C.. •                                                               on (dtzteJ JO hD        I! 7                ; or                    "
                                                                                                         j!~    :Ji' p.""
        0 I retumed !be summons unexecuted because                                                                                             ;or

        0 Other r.,...~J:
                                                                 ------------------------

        My fees are $
                            ------           for travel ancJ.S
                                                                 ------           for services, fora rota! of$                          0.00




Data:



                                                                                     Prlnred name altd tltht




Additlonallnformallon regarding attempted service, etc:
Case 4:17-cv-00792-A Document 11 Filed 11/30/17   Page 18 of 26 PageID 63




                       EXHIBIT A-3
Case 4:17-cv-00792-A Document 11 Filed 11/30/17                     Page 19 of 26 PageID 64

     Case 4:17 -cv-00792-f. Document 10 Filed 11/27/17                Pf!ge 1 of 1 PageiD 45

                                                                                   U.S. DISTRICT COURT
                                                                               NORTHERN DISTRICT OF TEX:\S
                            IN THE UNITED STATES DISTRICT CO RT Fr;gp~
                                    NORTHERN DISTRICT OFT •XAS
                                        FORT WORTH DIVISIO        NOV 2 7 2017
  ELSTON NATIONWIDE,                                     §                                      '
                                                                       CLERK, U.S. DJSTR[CT COURT
                                                         §            BY----;:---:-----
            Plaintiff,                                                             Deputy
                                                         §         '-----·-----------     ..... ·--·-··-·-
                                                         §
  VS.                                                    § CIVIL ACTION NO. 4:17-CV-00792 ·A
                                                         §
 CALL US LOGISTICS, INC.,                                §
            Defendant.                                   §


                               CLERK'S ENTRY OF DEFAULT

           Colleen McCoy, attomey for Elston Nationwide, Plaintiff in the above-styled cause

("Plaintiff'), has requested that the Clerk enter default against Call US Logistics, Inc.

("Defendant") pursuant to Fed. R. Civ. P. 55 (b)(l).        Having received the record and the

Affidavit of Colleen McCoy, it is apparent that Defendant has failed to file an answer, motion

under Fed. R. Civ. P. 12(b) or 56, or otherwise defend this cause. Accordingly, Defendant's

default is hereby entered according to Fed. R. Civ. P. 55(a).

                                                     KAREN MITCHELL, CLERK OF THE UNITED
                                                     STATES DISTRICT COURT FOR THE
                                                     NORTHERN DISTRICT OF TEXAS



                                                  c~wf~ (bf1iJd
                                                    --          Deputy Clerk                                 I
After entry please return
A conformed copy to:                                                                                         I
                                                                                                             I
                                                                                                             lli
Colleen McCoy                                                                                                I
Sargent Law, P.C.
1717 Main Street, Ste. 4750                                                                                  l
                                                                                                             l
Dallas, Texas 75201                                                                                          I
Fax: (214) 749-6708                                                                                          l~

AFFIDAVIT OF COLLEEN MCCOY                                                                 Page I of I
#I992168
Case 4:17-cv-00792-A Document 11 Filed 11/30/17   Page 20 of 26 PageID 65




                        EXHIBIT A-4
              Case 4:17-cv-00792-A Document 11 Filed 11/30/17                       Page 21 of 26 PageID 66

                                                 Loss and Damage Claim
                                                                          Presentation Date:         8/25/2017

Company:                            Pederson                                                         ~,;Jaimant
                                                                          Presented on Behalf of:
Claimant Claim ID:                  0177014-C                             Address:                        Pedersons
                                                                                                        1207 S Rice ST
Claim is hereby filed with the below carrier for:                                                    Hamilton TX 76531
                                                                          Contact:                   Dwight Tiedemann
                                                                          Phone:                         817-427-1955
Freight Bill (Pro) Number:                                                Shipment Date:         I    8/9/2017               I
                                                                          Delivery Date:         I   8/17/2017               I
Carrier:                  Call US Logistics                               Carrier Claim ID:                        43685
                             PO Box42                                     Carrier BOL .· ·                         44145
                       St Paul Park, MN 55071                             Carrier BOL Date:                       8/9/2017

Shipper:                    Pedersons                                     Point Shipped From:                Hamilton TX
                          1207 S Rice ST                                  Consignee: ·                       Whole Foods
                         Hamilton TX 76531                                Destination:      ..                SeattleWA
                                .                        .
                           Deta1.led Statement Showmg How Claun Amount 1s Determmed
                                                                                        .
                                  Product Description Cost and Amount of Articles                                                      .
                                            '              '                                                                                   •
ProductiD              Product Description                          Quantity              Cost                                    Line Total
    3220                UC Apple SM BACON Shingled                       180                    $4.30                            $16,157.98
                               Temp Recorder                                 2                 $11.75                                $23.50
Disposal               Product needed to be destroyed                        1              $472.00                                 $472.00
                                                                               Discount(-)
                                                                               Freight Charges (+)
                                                                               Mise Charges (+)
                                  Currency shown in US DOLLAR (USD)            Total Claim Amount                                $16,653.48
                                        Supportmg Documentation Enclosed

           OS& D Report                          _ _ _ _ Copy of Paid Frt. Bill                  XXXXX         DAMAGE
""xx=x"'x--copy of Bill of Lading                          Copy of Credit memo                                 SHORTAGE
 XXXX      Copy of Invoice                       -;:xxxx=~-Other     2 PDF Downloads             ~x-::x-::x"C"xx~-OTHER Comm.

MAIL CHECKS TO: Pederson Natural Farms But mail to Elston Nationwide
I            Reefer unit quit during the night based on Drivers statement and product was rejected

RETURN BOTTOM WITH REMITTANCE
Claim Amount                        $16,653.48               Preparer's Name        Dwight Tiedemann
Claim Number                        177014-C

Claim Date                           8/25/2017               Signature:

    Reference Number                    44145
Claims must be acknowledged in writing within (30) days from receipt.
            Case 4:17-cv-00792-A Document 11 Filed 11/30/17                         Page 22 of 26 PageID 67
                                   Pederson Natural Farms, INC.
                                   1207 S. Rice
                                   Hamilton, TX 76531                                          Invoice No.:   42110
                                   Phone: (254) 386-4 790
                                   Fa"' (254) 386-4794                                              Date:     08/09117
                                                                                                Order No.:    43685
                                   EST. 19617                                                  Shipper 10:
                                   Product of the U.S.A.
                                                                                              Customer 10:    1193



                                                     1193
   WFM-Pacific Northwest Region                                       WFM-Paciflc Northwest Region
   4250 E Marginal Way S                                              4250 E Marginal Way S
   Seattle, WA 98134                                                  Seattle, WA 98134




                                                                                                                           Page 1




  TEMPRECORDff&np Recorder                                    2.000                     11.75         EA          11.75             23.50

            2.000 062117
  3220          UC Apple Sm Bacon Shingled                  180.000     3,757.670        4.30         cs          89.77       16,157.98

           11.000 101617                   169.000 101417




                                                                                INVOICE TOTAL:                            $16,181.48
      182.000                         4,260.410
NO DISCOUNT ALLOWED ON FREIGHT
                                                                                NET INVOICE TOTAL:                        $16,181.48
Case 4:17-cv-00792-A Document 11 Filed 11/30/17   Page 23 of 26 PageID 68




                        EXHIBIT A-5
                     Case 4:17-cv-00792-A Document 11 Filed 11/30/17                                                                             Page 24 of 26 PageID 69
               <;HT BILL OF lADING - SHORT FORM • Original· Non Negotiable                                                                                                             PAGE: 1
.r-
 SI          0M:                                                          01                                               SALES ORDER NO.                          DATE ·                    BILL OF LADING NO.
         t'ederson's Natural Farms Inc.                                                                                                    43685                     08/09/17                                   44154
      - '2fJ7 COUNTY ROAD 502
         Hamilton, TX 76531                                                                            CARRIER                        Elston Nationwide
                                                                                                       DELAFPT#
                                                                                                       FREIGHT TERMS                  Customer Responsible for Freight

 SHIP TO:                                                            1193                              ARRIVE DATE                    08/17/17                                ARRIVE TIME :
     WFM-Pacific Northwest Region
     4250 E·Marginal WayS                                                                               SOLD TO:                                                                             1193
     Seattle, WA 98134                                                                                       WFM-Pacific Northwest Region
                                                                                                             4250 E Marginal Way                        s
                                                                                                             Seattle, WA 98134


  CUSTOMER PO#: PL00467436

  TEMPRECORDER I TENI\'IPERWiilileiR
           Lo06ll4j7       2.0fr     EA
  AMBIENT      STORE PRODUCT AT ROOM TEMPERATURE

  3220 I 3220                     UC Apple Sm Bacon Shingled                                                                                            3,757.67                    4,260.41              NMFC=
                        LotlCl16H        11.00     CS101417    169.00
  REEFER                      MUST BE SHIPPED AND STORED BETWEEN 28 & 3                                                                         FAHRENHEIT


                                                                                                                                    ?--~Jfc.-1
                                                                                                                                     TP:.Wl rft"IL-         r
                                                                                                                                               x --+~-
                                                                                                                                                    . - .:<--.::;




II PALLETS:                                                                                                                                  TOTALS: 182.00                      4,260.41
 Special Instructions:
     PEDERSON'S NATURAL FARMS IS A SHIPPER LOAD-CARRIER COUNT FACILITY AND THE DRIVER IS RESPONSIBLE FOR
     ENSURING THE LOAD IS PROPERLY BLOCKED AND BRACED.    DO NOT DOUBLE STACK THIS PRODUCT.
Permanent post office address of shipper
PEDERSON'S NATURAL FARMS                                                                                                                                      TRAILER#:
 1207 Sooth Rice Street
 Hamilton, TX 76531                                                               COD$                                                                              SEAL#:
 (254) 386-4790
 RECEIVED, subject to the classlllcations and lawfully flied tarllfs.ln effect on the date of the Issue of the Bill of l.adlng,lhepropertydescrlbed above In apparent good order, excopt as noted (contents and condillons
 of contents of packages unknown), marked, consigned, and destined as Indicated above which said canier (lho word cartle:r being unden;!ood throughout the conltact S$ meaning any person or corporation In
 pos.sessltm of property under the conlract) agrees to carry to II$ usual place of dellvruy at sald desllnaUon,lf on Its route, otherwise to deliver to another carrier on tha route to sald dastlnstlon. !tIs mutually agreed
 as 10 each carrier of all or any of saki property, over an or any portion of said properly, over all or any portion of said route to des!inatlon and as to eaCh party at anytime Interested In $1 or any of said property, that
 every servfce to be performed hereunder shaH be subject to all the Bllf of Lading terms and condltlonsln the governing dassilica!lon on lho date of shl'pm131lt Shipper hereby certlnes that ho Is famlllarwlth all
 the Bill of Lading terms and condltlons In tho governing classification and the said tenns and corWIUons are hereby agtead to by the shipper and accepted for himself and his assigns.

NOTICE: Freight moving under this BUJ of lading Is subjeclto the dassllicatlons and lawfully rues tariffs In effect on the dste of this Bill oftad!ng. Thls nollcesupersedes and rn).{lates any claimed, e!leged or .assert·
ed orn1 orwrilfen contract, promfse, representalion 01 understanding between the parties with respect toth!s freight, except to the extant of anyWiitten contract which ostabllshes lawful contract carriage and Is
s!gnll'<f by the authorized representatives or lmth parties of lhe contract

The signature below Is to oortlfy !hal the materia! named above meets all requirements ofCFR 9,417.5(e) Preshlpmont R&lfiew; are dascrfbed, packaged, C!assl!fed, ma:Tked, and labeled; and am olherwisa In
prQper condillon for transportallon, according to the applicable depaltmant of transpor1at!on reguta!lons, lndudlng regvlali<ms per1aln1ng toh<nardous maleftals or .subSiances.

SHIPPER

PER                                                       DATE
Case 4:17-cv-00792-A Document 11 Filed 11/30/17   Page 25 of 26 PageID 70




                        EXHIBIT A-6
    ""·~~   ..~~~~~···~••~•'2~-;;;;;J                                    Case 4:17-cv-00792-A Document 11 Filed 11/30/17           Page 26 of 26 PageID 71                       .. ,.,..
                                                                                     _:!s~. !.!k.:!~:-_~"!~J=.]i:!-.iff$~h~~rr~ul_c!. .•l~~.~~~. ~r~t,,..,.~:00.:,~7a=
                                                                        c···                                                                                                                        ~=~;;


   u .          9, .. 'I' 0;;:/,
CarrlarOff~ll+QIW rP-mG'! Y.Spiit
                                   ~            u£ . .
                                     Or4er L_~~:_~~fl ~ram
                                                                           ~                                                                                              ~
                                                                                                                                                                         Ur<S;;':t
                                                                                                                                                                                     !~~
                                                                                                                                                                                     ~!.:_~~ear,
                                                                                                                                                                                                    ~
                                                                                                                                                                                                   Pallets·
                                                                                                                                                                                                              '-';;
                                                                                                                                                                                                              Ui




         10 Loaded                                  Dispatcher ~hrl_:.~.~                           Manifest!M001165
         10 Partial Rr Authorized           Operations user· christm
        UJaded at Shipper
                                               Message sent~OS/1612017 0717

                                                                     Destination

                             Locatio:~~O:..~cc.l<cc~§\=-.~ccii2:Jc-:~":_~~>e-l~·~~t:~f~gfo~
                                                                                              2     ····w---~~=···
~TION
                                                                                                   ._

1120171030                   ScheduJooio8/17J20-17D9-00--~ ~~-Actual                              ------~~===

.enls Ca!lins Rate Index Map -·c"·t r.:cs~               o-~·"
